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  IT IS ORDERED as set forth below:
 
 
 
  Date: March 15, 2018
                                       _________________________________
 
                                                Barbara Ellis-Monro
                                           U.S. Bankruptcy Court Judge
 
 
  ________________________________________________________________
 
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:
                                                                CASE NO. 16-64819-BEM
TLA TANNING CORP,

          Debtor.                                               CHAPTER 11

    ORDER SETTING DEADLINE FOR DEBTOR TO FILE AMENDED PLAN AND
                  AMENDED DISCLOSURE STATEMENT
         The Court held a status conference in this case at 11:00 AM on March 14, 2018. Howard

Slomka appeared on behalf of Debtor. Thomas E. Austin Jr. appeared on behalf of Access to

Capital for Entrepreneurs Inc. David Weidenbaum appeared on behalf of the United States

Trustee. For the reasons stated on the record at the status conference, it is hereby

         ORDERED that Debtor shall file an amended Chapter 11 plan and an amended

disclosure statement by Monday, April 16, 2018. It is further

         ORDERED that if Debtor does not timely comply with the above, this case may be dismissed

without further notice, without prejudice to Debtor seeking an extension for good cause shown.

         The Clerk is directed to serve a copy of this Order upon all Parties and Creditors.

                                         END OF ORDER
